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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X

P.F.
_______________________________,                                   AFFIRMATION IN SUPPORT
                                                                   OF REQUEST FOR
                                            Plaintiff(s)           CERTIFICATE OF DEFAULT

                 -against-                                            CV 7:24-cv-02333-PMH
                                                                                     (  )

Y.F.
_______________________________,
                              Defendant(s).

-------------------------------------------------------------X
        Menachem White, Esq.
        _____________________________ hereby declares as follows:

        1.       I am the Counsel for the petitioner in this action.

        2.       This action was commenced pursuant to 22 U.S.C. 90m(a), (b) and 28 u.s.c.
                 1m.

        3.       The time for defendant Y.F., to answer or otherwise move with respcet to the

complaint herein has expired.

        4.       Defendant(s), Y.F., has not answered or otherwise moved with respect to the

complaint, and the time for defendant, Y.F. to answer or otherwise move has not been extended.

        5.       That defendant Y.F. is not an infant or incompetent. Defendant, Y.F. is not

presently in the military service of the United States as appears from facts in this litigation.
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             WHEREFORE, plaintiff, through her counsel, requests that the default of defendant, Y.F.


       be noted and a certificate of default issued.

       I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information and belief, that the amount claimed is justly due to plaintiff, and that no part

thereof has been paid.




                                                       _____________________
Dated: October 9, 2024                                 By:Menachem White, Esq.
                                                       Attorney for Petitioner
                                                       4 Brower Avenue, Suite 3
                                                       Woodmere, New York 11598

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